                                   Case 1:23-mj-00133-GMH Document 6 Filed 06/21/23 Page 1 of 1
AO 442 (Rev. 11/11) Arrest Warrant




                                                      UNITED STATES DISTRICT COURT
                                                                                                    for the
                                                                                                                                     I

                                                                                      District of Columbia

                       United States of America
                                   v.                                                                  )
                                                                                                       )
                                                                                                                 Case: 1:23~mj=OO 133
                                 Dustin Martin                                                         )         Assigned 100 : Harvey" G. M'chael
                                                                                                       )         Assign. Date: 6120/20,23
                                                                                                       )
                                                                                                       )
                                                                                                                 Description: Complaiint WI Arrest Warrant
                                     Defendant


                                                                                ARREST WARRANT
To:         Any authorized            law enforcement              officer


            YOU ARE COMMANDED                                to arrest and bring before a United States magistrate                            judge without        unnecessary       delay
(name 0/ person to be arrested)            .nUs_tin.Mar.t,~·          CL-                                                                                                             ---j'--_

who is accused of an offense or violation                           based on the following                 document       filed with the cout1:

o Indictment         o Superseding Indictment                                            o Information    o Superseding Information                               N Complaint
o Probation Violation Petition     o Supervised                                      Release Violation Petition    o Violation Notice                              0 Order of the Court

This offense is briefly described                    as follows:

18 USC.     §§ 1512(c)(2)      - Obstruction     of an Oftlcial    Proceeding
18 Us.c.    § I 752(a)( I) - Entering and Remaining             in a Restricted    Building or Grounds,
18 U.S.c.   § I 752(a)(2)   - Disorderly       and Disruptive     Conduct     in a Restricted   Building or Grounds,
40 U.S.c.   S 51 04(e)(2)(D)     - Disorderly     Conduct   in a Capitol      Building   or Grounds,       and
40 U.S.c.   § 51 04(e)(2)(G)     - Parading,     Demonstrating,      or Picketing    in a Capitol    Building.

                                                                                                                                                   Digitally signed by G.
                                                                                                                      G. Michael                   Michael Harvey
                                                                                                                                                   Date: 2023.06.20 12:07:51
Date:             06/20/2023
                                                                                                                      Harvey                       -04'00'

                                                                                                                                    Issuing officer'S signa/lire


City and state:                                Washington           D.C.                                          G. Michael Harve
                                                                                                                                         Printed name and litle
                                                                                                                                                                                         I
                                                                                                 Return                                                                                  I
            This warrant was received on (date)                             0101 :>:I,a/ '010 ";lS          ,and the person was arrested           on (date)            /Cil l
                                                                                                                                                                   Q ••••.       / ~G .•• :1
at (cit)' and state)



                                                                                                                   2~              1J__fl_,-tl,...=~~----+--
                                                                                                                                   ..J,··resting officer's signature


                                                                                                           ~~4(       ~     T·    (;)~~            /    r~~        St~.,•\..•••.
                                                                                                                                                                              \ h;"!)~L-
                                                                                                                                         Printed name and title
